Case 2:19-cv-02374-KJM-EFB Document 14 Filed 05/26/20 Page 1 of 8

Garrison Jones
P.O. Box 188911
Sacramento, California 95818

Garrison. jones @egkeookecom
PLAINTIFF
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

 

GARRISON JONES

Plaintiff, ~
v. co
VELOCITY TECHNOLOGY SOLUTIONS,
INC.; SHAUNA COLEMAN, individually
and as H.R. Director of Velocity Technology
Solutions; CHRIS HELLER, individually and
as General Counsel of Velocity Technology
Solutions, STEVEN KLOEBLEN,
Individually and as CEO of Velocity
Technology Solutions; MICHAEL
BALDWIN, individually and as an employee
of Velocity Technology Solutions.

Defendants. ;
Case No. 2:19-cv-02374-KJM-EFB rs
CERTIFICATE OF SERVICE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
GARRISON JONES

Plaintiff,

V. .

VELOCITY TECHNOLOGY SOLUTIONS,
INC.; SHAUNA COLEMAN, individually
and as H.R. Director of Velocity Technology
Solutions; CHRIS HELLER, individually and
as General Counsel of Velocity Technology
Solutions; STEVEN KLOEBLEN,
Individually and as CEO of Velocity
Technology Solutions, MICHAEL
BALDWIN, individually and as an employee
of Velocity Technology Solutions.

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Case 2:19-cv-02374-KJM-EFB Document 14 Filed 05/26/20 Page 2 of 8

Defendants.

Case No. 2:19-cv-02374-KJM-EFB
CERTIFICATE OF SERVICE- NOTICE OF LAWSUIT REQUEST TO WAIVE
SUMMONS NOVMEBER 27, 2019

Complaint Filed: November 25, 2019

, Lserved the following document(s) on the attached service list:

NOTICE OF LAWSUIT REQUEST TO WAIVE SUMMONS
3 .
Date: November 27, 2019

Complaint Filed: November 25, 2019

Trial Date: None Set

I am the plaintiff in the above case appearing Pro Se.

I do hereby affirm that I am the plaintiff in the above-mentioned case
appearing Pro Se and that on November 27, 2019 I sent via USPS
Certified Priority mail to defendants at 1901 Roxborough Road

- Charlotte, North Carolina 28211

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Case 2:19-cv-02374-KJM-EFB Document 14 Filed 05/26/20 Page 3 of 8

Garrison Jones

P.O. Box 188911

Sacramento, California 95818
Garrison.jones@outlook.com

 

PLAINTIFF
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
GARRISON JONES
Plaintiff,

Vv.
VELOCITY TECHNOLOGY SOLUTIONS,
INC.; SHAUNA COLEMAN, individually
and as H.R. Director of Velocity Technology
Solutions; CHRIS HELLER, individually and
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of Velocity Technology Solutions.
Defendants.
Case No. 2:19-cv-02374-KJM-EFB
CERTIFICATE OF SERVICE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
GARRISON JONES

Plaintiff,

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VELOCITY TECHNOLOGY SOLUTIONS,
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Solutions; CHRIS HELLER, individually and
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Case 2:19-cv-02374-KJM-EFB Document 14 Filed 05/26/20 Page 4 of 8

Defendants.
Case No. 2:19-cv-02374-KJM-EFB

CERTIFICATE OF SERVICE NOTICE OF LAWSUIT REQUEST WAIVER OF
SUMMONS

, | served the following document(s) on the attached service list:
NOTICE OF LAWSUIT REQUEST WAIVER OF SUMMONS

Complaint Filed: November 25, 2019
Trial Date: None Set
Judge: Hon. Edmund F. Brennan

I am the plaintiff in the above case appearing Pro Se.

I do hereby affirm that I am the plaintiff in the above-mentioned case
appearing Pro Se and that on December 11, 2019 I sent via USPS First
class mail to defendants at 1901 Roxborough Road

Charlotte, North Carolina 28211

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Case 2:19-cv-02374-KJM-EFB Document 14 Filed 05/26/20 Page 5 of 8

Garrison Jones

P.O. Box 188911
Sacramento,.California 95818
Garrison. jones@outlook.com

 

PLAINTIFF
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
GARRISON JONES
Plaintiff,

v.
VELOCITY TECHNOLOGY SOLUTIONS,
INC.; SHAUNA COLEMAN, individually
and as H.R. Director of Velocity Technology
Solutions; CHRIS HELLER, individually and
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Individually and as CEO of Velocity
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BALDWIN, individually and as an employee
of Velocity Technology Solutions.
Defendants.

Case No. 2:19-cv-02374-KJM-EFB
CERTIFICATE OF SERVICE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
GARRISON JONES

Plaintiff,

V.
VELOCITY TECHNOLOGY SOLUTIONS,
INC.; SHAUNA COLEMAN, individually
and as H.R. Director of Velocity Technology
Solutions; CHRIS HELLER, individually and
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Individually and as CEO of Velocity
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Case 2:19-cv-02374-KJM-EFB Document 14 Filed 05/26/20 Page 6 of 8

Defendants.

Case No. 2:19-cv-02374-KJM-EFB

CERTIFICATE OF SERVICE NOTICE OF LAWSUIT REQUEST WAIVER OF
SUMMONS

, Lserved the following document(s) on the attached service list:
NOTICE OF LAWSUIT REQUEST WAIVER OF SUMMONS

Complaint Filed: November 25, 2019
Trial Date: None Set
Judge: Hon. Edmund F. Brennan

I am the plaintiff in the above case appearing Pro Se.

I do hereby affirm that I am the plaintiff in the above-mentioned case
appearing Pro Se and that on December 5, 2019 I sent via USPS First
class mail to defendants at 1901 Roxborough Road

Charlotte, North Carolina 28211
Case 2:19-cv-02374-KJM-EFB Document 14 Filed 05/26/20 Page 7 of 8

Garrison Jones

P.O. Box 188911

Sacramento, California 95818
Garrison jones@outlook.com

 

PLAINTIFF
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
GARRISON JONES
Plaintiff,

V.
VELOCITY TECHNOLOGY SOLUTIONS,
INC.; SHAUNA COLEMAN, individually
and as H.R. Director of Velocity Technology
Solutions, CHRIS HELLER, individually and
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Individually and as CEO of Velocity
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of Velocity Technology Solutions.
Defendants.
Case No. 2:19-cv-02374-KJM-EFB
CERTIFICATE OF SERVICE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
GARRISON JONES

Plaintiff,

V.

VELOCITY TECHNOLOGY SOLUTIONS,
INC.; SHAUNA COLEMAN, individually
and as H.R. Director of Velocity Technology
Solutions; CHRIS HELLER, individually and
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Solutions; STEVEN KLOEBLEN,
Individually and as CEO of Velocity
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BALDWIN, individually and as an employee
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Case 2:19-cv-02374-KJM-EFB Document 14 Filed 05/26/20 Page 8 of 8

Defendants.

Case No. 2:19-cv-02374-KJM-EFB

CERTIFICATE OF SERVICE AMENDED MOTION DENY DEFENDANT MOTION OF
MAY 4, 2010

, | served the following document(s) on the attached service list:
AMENDED MOTION DENY DEFENDANT MOTION OF MAY 4, 2010

Date: May 25, 2020

Complaint Filed: November 25, 2019
Trial Date: None Set
Judge: Hon. Edmund F. Brennan
Hearing Scheduled for June 3, 2020 @10:00 am

I am the plaintiff in the above case appearing Pro Se.

I do hereby affirm that I am the plaintiff in the above-mentioned case
appearing Pro Se and that on December 5, 2019 I sent via USPS First
class mail to defendants at 1901 Roxborough Road

Charlotte, North Carolina 28211
